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13
14                     IN THE UNITED STATES DISTRICT COURT
15                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
16                                 SOUTHERN DIVISION
17
        MASIMO CORPORATION, a Delaware       ) Case No. 8:20-cv-00048-JVS-JDE
18      corporation; and CERCACOR            )
19      LABORATORIES, INC., a Delaware       ) Hon. James V. Selna
        corporation                          ) Magistrate Judge John D. Early
20                                           ) PLAINTIFFS’ REQUEST FOR
21                  Plaintiffs,              ) ORAL ARGUMENT ON APPLE’S
                                             ) MOTION TO DISMISS THE
22           v.                              ) THIRTEENTH CAUSE OF
23                                           ) ACTION IN PLAINTIFFS’ THIRD
        APPLE INC., a California corporation ) AMENDED COMPLAINT (DKT.
24                                           ) 241)
25                  Defendant.               )
                                             )
26                                           )
27                          REDACTED VERSION OF DOCUMENT
                           PROPOSED TO BE FILED UNDER SEAL
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1      Tentative to state that trade secret 44.2, as well as trade secrets that further narrow trade
2      secret 44.2 (trade secrets 44.3-44.9), are not dismissed. Moreover, even if the Court
3      were to dismiss trade secret 44.2, it should not dismiss trade secrets 44.3-44.9 merely
4      because they reference trade secret 44.2. Trade secrets 44.3-44.9 contain additional
5      elements and, therefore, can be protectable even if trade secret 44.2 is not. See Altavion,
6      Inc. v. Konica Minolta Sys. Laboratory, Inc., 226 Cal. App. 4th 26, 47 (2014) (trade
7      secret protectable “even if some or all of the elements” were “in the public domain”).
8      C.    The TAC Plausibly Alleges Improper Acquisition Through Inducement
9            For all but one trade secret, the Tentative holds Plaintiffs sufficiently alleged
10     Apple “Acquired, Used, or Disclosed” Plaintiffs’ trade secrets. See Tentative at 12-13.
11     The Court then dismissed “Plaintiffs’ inducement claim . . ..” Tentative at 14. But the
12     TAC contains no separate inducement claim. Inducement is merely one way of showing
13     improper acquisition. See Cal. Civ. Code § 3426.1(a). Thus, Plaintiffs respectfully
14     submit the “inducement” section of the Tentative is unnecessary and should be removed.
15           This section of the Tentative also incorrectly adopts Apple’s argument that
16     Plaintiffs presented only a “one-sentence” allegation regarding inducement. See Dkt.
17     256 at 23-24. In particular, the Tentative finds that “[t]he extent of Plaintiffs’ allegations
18     of inducement are that ‘on information and belief, Defendant induced its employees,
19     including Lamego and O’Reilly, to disclose Plaintiffs’ Confidential Information and the
20     employees disclosed Plaintiffs’ Confidential Information for the benefit of Defendant
21     while employed by Defendant.’” Tentative at 14 (quoting TAC ¶ 230). Plaintiffs’
22     Opposition cited additional paragraphs that provide much more detail. Dkt. 247-1 at 24
23     (citing TAC ¶¶ 19-24, 229-30). The Tentative summarizes those paragraphs elsewhere:
24            “Plaintiffs allege Apple (1) met with Plaintiffs because it desired Plaintiffs’
             technology, (2) systematically recruited Plaintiffs’ employees, including
25
             Masimo’s Chief Medical Officer and Cercacor’s CEO, when discussions
26           broke down, (3) obtained extensive patent disclosures from Lamego in the
             short time he worked at Apple, and (4) selectively requested non-publication
27
             of Lamego applications containing Plaintiffs’ trade secrets.” Opp’n at 19
28           (citing TAC ¶¶ 19-24, 229, 248). Plaintiffs also allege that they sent Apple
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1            a letter on January 24, 2014, notifying the company that Lamego possessed
             Plaintiffs’ confidential information. TAC ¶ 23.
2
3      Tentative at 11.    The Tentative found those allegations sufficient to show the
4      “knowledge” element because they suggest “Apple had a demonstrated interest in
5      Plaintiffs’ technology, quickly obtained patentable information in Plaintiffs’ field from
6      Plaintiffs’ former employees known to have confidential information shortly after
7      negotiations with Plaintiffs broke down, and then requested non-publication such that
8      Plaintiffs did not promptly have notice of the information Apple was patenting.” Id.
9            For the same reason, those allegations are also sufficient to plead improper
10     acquisition through inducement. Indeed, Plaintiffs cited case law approving of far less
11     detailed allegations. See Dkt. 247-1 at 23 (citing Calendar Research LLC v. StubHub,
12     Inc., 2020 WL 4390391, at *5 (C.D. Cal. May 13, 2020)). In Calendar Research, the
13     Court found sufficient allegations that the defendant: (1) knew of the valuable trade
14     secrets, (2) desired the technology, and (3) knew the individuals were not authorized to
15     possess or disseminate it. Id. The Court found those allegations sufficient because
16     additional detail was “not presumptively in the knowledge of the pleading party.” Id.
17     Similarly, Plaintiffs should not be expected to detail, at this stage, internal Apple
18     meetings or emails where Apple induced Lamego or O’Reilly to share Plaintiffs’ secrets.
19     D.    The TAC Plausibly Alleges Respondeat Superior
20           The Tentative finds that “[t]he only allegation that Lamego and O’Reilly
21     themselves misappropriated Plaintiffs’ trade secrets is that they ‘used and disclosed
22     Plaintiffs’ Confidential Information within the scope of their employment for Defendant
23     and for the benefit of Defendant.’” Tentative at 14 (quoting TAC ¶ 246).         In oral
24     argument, Plaintiffs would explain the TAC contains far more allegations, including:
25           O’Reilly and Lamego disclosed Plaintiffs’ Confidential Information, without
             Plaintiffs’ consent, to Defendant. At the time of disclosure, O’Reilly and
26           Lamego knew, or had reason to know, that their knowledge of Plaintiffs’
27           Confidential Information was acquired by an employer-employee
             relationship, fiduciary relationship, and employment agreements, which
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1            created a duty for them to keep Plaintiffs’ Confidential Information secret.
             O’Reilly and Lamego also knew, or had reason to know, that disclosing
2
             Plaintiffs’ Confidential Information to Defendant constituted a breach of
3            those obligations.
4      TAC ¶ 228; Cal. Civ. Code § 3426.1(2) (one misappropriates by use or disclosure if one
5      “knew or had reason to know that his or her knowledge of the trade secret” was “acquired
6      under circumstances giving rise to a duty to maintain its secrecy or limit its use”).
7            The TAC also alleges Apple used the secrets described “in paragraphs 232-244,”
8      which it had “improperly obtained from Plaintiffs and their former employees without
9      Plaintiffs’ express or implied consent.” TAC ¶ 231. For each category of trade secrets,
10     the TAC alleges how Lamego or O’Reilly was exposed to the trade secret and how the
11     trade secret was used at Apple. Id. ¶¶ 232-244. For example, the TAC details
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13
14
15           Next, the TAC alleges why Apple was responsible for Lamego and O’Reilly’s use
16     and disclosure. TAC ¶ 246. Among other things, the TAC alleges Apple “hired
17     O’Reilly and assigned him to help develop Defendant’s relationships with clinicians and
18     strategic plans for clinical monitoring” and “hired Lamego, assigned him to help develop
19     Defendant’s non-invasive monitoring technology, quickly obtained patent disclosures
20     from him, and then applied for numerous patents listing Lamego as an inventor.” Id.
21     The TAC alleges O’Reilly’s and Lamego’s acts of misappropriation were an “outgrowth
22     of [their] employment and inherent in the working environment” because Apple
23     “assigned O’Reilly to develop Defendant’s relationships with clinicians and strategic
24     plans for clinical monitoring” and “assigned Lamego to help develop Defendant’s non-
25     invasive monitoring technology and provide patent disclosures.” Id. Accordingly, at
26     oral argument, Plaintiffs would request the Court modify the Tentative to state that
27     Plaintiffs adequately pleaded respondeat superior.
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1                                           Respectfully submitted,
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